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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW HAMPSHIRE

 MANIKANTA PASULA, et al

                     Plaintiffs,

                         v.
                                                      Case No.
 U.S. DEPARTMENT OF HOMELAND
 SECURITY, et al.,

                    Defendants.


                   DECLARATION OF ATTORNEY SANGYEOB KIM

I, SangYeob Kim, pursuant to 28 U.S.C. § 1746, declare as follows:

         1.     I submit this declaration in support of Plaintiffs’ Motion for Preliminary Injunction

and .

         2.     I am over eighteen years of age and am competent to make this Declaration.

         3.     I am an attorney with the American Civil Liberties Union of New Hampshire.

         4.     I am one of the attorneys representing Plaintiffs and proposed class members in the

instant case.

         5.     Attached hereto as exhibits are true and correct copies of the following.

Exhibit Documents

                A. Affidavit of Manikanta Pasula.

                B. SEVIS termination notice of Manikanta Pasula.

                C. Visa revocation notice of Manikanta Pasula.

                D. Criminal record of Manikanta Pasula.

                E. Affidavit of Likhith Babu Gorrela.

                F. SEVIS termination notice of Likhith Babu Gorrela.

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       G. Visa revocation notice of Likhith Babu Gorrela.

       H. Criminal Record of Likhith Babu Gorrela.

       I. Affidavit of Thanuj Kumar Gummadavelli.

       J. SEVIS termination notice of Thanuj Kumar Gummadavelli.

       K. Visa revocation notice of Thanuj Kumar Gummadavelli.

       L. Criminal record of Thanuj Kumar Gummadavelli.

       M. Affidavit of Hangrui Zhang.

       N. SEVIS termination notice of Hangrui Zhang.

       O. Criminal record of Hangrui Zhang.

       P. Affidavit of Haoyang An.

       Q. SEVIS termination notice of Haoyang An.

       R. Criminal record of Haoyang An.

       S. Expert Declaration – Attorney Dahlia French.

       T. Declaration of Attorney Emily White.

       U. Affidavit of Attorney Stephanie Elona Young Marzouk.

       V. ICE Policy Guidance 1004-04 – Visa Revocations.

       W. Guidance Directive 2016-03 9 FAM 403.11-3 – Visa Revocation.

       X. NHPR News Article.

       Y. CBS8 News Article.

       Z. Boston.com News Article.

       AA.    DHS SEVIS Website – Termination Reasons (dated Dec. 3, 2024)

       BB.    DHS SEVIS Website – Termination Reasons (dated Apr. 9, 2025)

       CC.    DHS SEVIS Website – Terminate a Student (dated Nov. 7, 2024)



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               DD.      DHS SEVIS Website – Terminate or Reactive a Dependent Record (dated

                     Mar. 17, 2023)

               EE.      Affidavit of Xiaotian Liu and Attachments.

               FF.      NAFSA Article.

               GG.      Boston Globe Article.

               HH.      Inside Higher Ed. Article.

               II.     USCIS STEM OPT.

               JJ.     Wu TRO.

               KK.      Isserdasani TRO.

               LL.      Roe TRO.



I declare under penalty of perjury that the foregoing is true and correct.


/s/SangYeob Kim
SangYeob Kim

Executed on April 18, 2025.




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